     Case: 1:21-cv-00135 Document #: 541 Filed: 04/24/23 Page 1 of 4 PageID #:10984




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




                                                    Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                         Judge Sharon Johnson Coleman

                                                    Magistrate Judge Maria Valdez



                        JOINT STATUS REPORT ON DISCOVERY

         Pursuant to the Court’s Orders of March 9, 2023 Order (Dkt. 525) and April 20, 2023

(Dkt. 538), Plaintiffs; Defendants Clearview AI, Inc. (“Clearview”), Hoan Ton-That, Richard

Schwartz, Rocky Mountain Data Analytics LLC (“Rocky Mountain”), and Thomas Mulcaire

(collectively, the “Clearview Defendants”); and Defendants Macy’s, Inc., Macy’s Retail

Holdings, Inc. (n/k/a Macy’s Retail Holdings, LLC), and Macy’s Corporate Services, Inc (n/k/a

Macy’s Corporate Services, LLC) (collectively, the “Macy’s Defendants”), by and through their

respective counsel, file this Joint Status Report on Discovery.

I.       DOCUMENT PRODUCTION

         All parties represent that they have completed document production. The Macy’s

Defendants completed their production on March 6, 2023, and Plaintiffs are in the process of

reviewing their recent productions for completeness. The completeness of the Clearview

Defendants’ production is the subject of Plaintiffs’ Motion for Discovery Sanctions against the

Clearview Defendants (Dkt. 474) and the Clearview Defendants’ Motion for Protective Order

(Dkt. 471) (collectively, the “Pending Discovery Motions”), and is the subject of ongoing meet

and confer discussions among the Macy’s Defendants and the Clearview Defendants. Responses
  Case: 1:21-cv-00135 Document #: 541 Filed: 04/24/23 Page 2 of 4 PageID #:10985




to the Pending Discovery Motions were filed on April 21, 2023, and replies are due on May 5,

2023.

II.       PENDING DISCOVERY MOTIONS

          As noted above, responses to the Pending Discovery Motions were filed on April 21,

2023, and replies are due on May 5, 2023.

III.      ADDITIONAL INTERROGATORIES RELATING TO                              THE     MACY’S
          DEFENDANTS’ AMENDED AFFIRMATIVE DEFENSES

          Per the Court’s Order of April 5, 2023 (Dkt. 532), the Macy’s Defendants filed Amended

Affirmative Defenses to the Second Amended Consolidated Class Action Complaint and related

underlying complaints on April 11, 2023 (Dkt. 534-537.) Plaintiffs will serve interrogatories

relating to the newly-added affirmative defense on or before May 5, 2023 in accordance with the

Court’s April 5, 2023 Order.

IV.       ORAL DISCOVERY

          Depositions of the named Plaintiffs were previously noticed for October 27-November 4,

2022. Those depositions were continued in light of motion practice relating to designation of

interim lead class counsel and ongoing settlement discussions between Plaintiffs and the

Clearview Defendants following mediation on March 7, 2023. Pursuant to the Court’s Order of

March 6, 2023 (Dkt. 523), depositions of fact witnesses are to be concluded by June 5, 2023. The

parties are currently conferring on deposition dates.

Dated: April 24, 2023                           Respectfully submitted:


By: /s/ Jon Loevy
    JON LOEVY

       Plaintiffs’ interim lead class counsel


By: /s/ Daniel R. Saeedi



                                                   2
  Case: 1:21-cv-00135 Document #: 541 Filed: 04/24/23 Page 3 of 4 PageID #:10986




    DANIEL R. SAEEDI

    Counsel for the Macy’s Defendants


By: /s/ James Thompson
    JAMES THOMPSON

    Counsel for the Clearview Defendants



Counsel for Other Plaintiffs:

Frank Hedin
Joshua Arisohn
Scott Drury
Steven Webster
Michael Drew
Michael Wood




                                           3
  Case: 1:21-cv-00135 Document #: 541 Filed: 04/24/23 Page 4 of 4 PageID #:10987




                              CERTIFICATE OF SERVICE


        I, Thomas M. Hanson, an attorney, hereby certify that, on April 24, 2023, I filed the
foregoing document using the Court’s CM/ECF system, which effected service on all counsel of
record.


                                                  /s/ Thomas M. Hanson
                                                  Thomas M. Hanson
